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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

JANE DOE on behalf of herself and
others similarly situated,

        Plaintiffs,
                                                  Case No. 2:25-cv-10876-MAG-EAS
-vs-
                                                  HON. MARK A. GOLDSMITH
THE UNIVERSITY OF MICHIGAN
BOARD OF REGENTS, KEFFER
DEVELOPMENT SERVICES, LLC
& MATTHEW WEISS,

     Defendants.
__________________________________________________________________

       NOTICE OF FILING OF MOTION FOR STATUS CONFERENCE

        Please take notice that Plaintiffs have filed a Motion for Status Conference in

Case No. 25-cv-10946. The motion seeks consolidation of the following cases:

              Jane Doe 1, et al. v. Weiss, et al., Case No. 25-cv-10806;
              Jane Doe 1, et al. v. Weiss, et al., Case No. 25-cv-10855;
              Jane Roe CLF 001 v. Weiss, et al., Case No 25-cv-10870;
              Jane Doe v. Board of Regents, Case No. 25-10876;
              Jane Does 1 –11 v. University of Michigan, Case No. 25-cv-10946;
              Jane Doe v. Board of Regents, et al., 25-cv-10951;
              Jane Doe 1-3 v. Matthew Weiss, et al., Case No. 25-cv-10988; and
              Student Doe v. Board of Regents, et al., Case No. 25-cv-10999.
              Jane Doe 1 v. Matthew Weiss, et al., Case No. 1:25-cv-04233 (NDIL)


                                               Respectfully submitted,
Dated: April 23, 2025
                                               SOMMERS SCHWARTZ, P.C.
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                                            /s/ Jason J. Thompson
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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 23, 2025, I electronically filed the foregoing
paper with the Clerk of the Court using the CM/ECF system.


                                            /s/ Jason J. Thompson
                                            Jason J. Thompson (P47184)




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